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     ABEL REMIGIO-ONOFRE
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. 1:08-cr-00124-AWI-8
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   ABEL REMIGIO-ONOFRE,                                RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable ANTHONY W. ISHII
16
17             Defendant, ABEL REMIGIO-ONOFRE, by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 3, 2010, this Court sentenced Mr. Remigio-Onofre to a term of 151

25   months imprisonment;

26             3.         His total offense level was 31, his criminal history category was IV, and the

27   resulting guideline range was 151 to 188;

28

     Stipulation and Order Re: Sentence Reduction          1
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1              4.         The sentencing range applicable to Mr. Remigio-Onofre was subsequently
2    lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
3    July 18, 2014, see 79 Fed. Reg. 44,973, with an effective date of any such reduction as of
4    November 1, 2015;
5              5.         Mr. Remigio-Onofre’s total offense level has been reduced from 31 to 29, and his
6    amended guideline range is 121 to 151 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Remigio-Onofre’s term of imprisonment to a total term of 121 months.
9    Respectfully submitted,
10   Dated: March 16, 2015                              Dated: March 16, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           ABEL REMIGIO-ONOFRE
16
17                                                     ORDER
18             This matter came before the Court on the stipulated motion of the defendant for reduction
19   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
20             The parties agree, and the Court finds, that Mr. Remigio-Onofre is entitled to the benefit
21   Amendment 782, which reduces the total offense level from 31 to 29, resulting in an amended
22   guideline range of 121 to 151 months.
23             IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2010 is
24   reduced to a term of 121 months.
25             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
26   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
27   reduction in sentence, and shall serve certified copies of the amended judgment on the United
28   States Bureau of Prisons and the United States Probation Office.

     Stipulation and Order Re: Sentence Reduction          2
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1              Unless otherwise ordered, Mr. Remigio-Onofre shall report to the United States
2    Probation Office within seventy-two hours after his release.
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4    IT IS SO ORDERED.
5    Dated:       March 17, 2015
6                                                   SENIOR DISTRICT JUDGE

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     Stipulation and Order Re: Sentence Reduction      3
